Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 1 of 21

 

 

Exhibit F
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ase 1:17-cv- -LGF Docume
:17-cv-00361-WMS

Case 1:17-cv

  

STRICT COURT

ERN DISTRICT OF NEW YORK

      

Plainti ff, - '/-cv-0036] -WMS
v. ECF Case
Experian Inform

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Specialized Len

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ding Loan Servicj

 

 

EXPERIAN | “ev-361_0001 ~ 0929 Thes

 
Case 1:17-cv-00361-WMS-LGE Document 41-26 Filed 10/31/18 Page 3 of 21

knowledge of those matters, were kept in the course of regularly conducted activity of
Experian, were made by the regularly conducted activity of Experian, and these

documents constitute business records of Experian.

4, The foregoing facts are true and correct.

Experian Information Solutions, Inc,

7
Si enature: 24>

Title: Re sulators ALP es S te.L)st

 

g,%
Executed on this “7} ~ day of Juli 4 , 2018.
Notary Public: Avia. Wilbw

06-07-2020

My commission expires:

 

 

oer ants, LISA WALLACE
¥ “hose Notary Publle, State of Texas
FALSE Comm. Expiras 06-09-2020
DES Notary ID 126519481

  

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- Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 4 of 21

  

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CONFIDENTIAL EXPERIAN_17-cv-361_0001
Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 5 of 21
BISCLOSOUORE Loc Requesting Agent ID EX724979
EN» 135165276
Capid=1640394982 Stamp Date=02/28/2017 Mail Dispute Entry Date=03/07/2017
Agent Id=VN626910 Agent Name: VANESSA NEGRETE
MACRIS, MARK K 55N=#123608390
{OR /DOB=12/9/1567
Address#270 MILLER &D
GETZVILLE, NY L406

Format/Language Type:Standard Date:02/28/2017 Agent Ed= VNG26916
Ne COLT - Report

CDP Date=03/239/2017 CDE Type: Full Format/Language Type:Standard
CODES PE PED D ED LOE PREP PME PE BOO POOL COC EO PERO COC OC REDS DCPS ERO R CREDO

Capic=3775740694 Stamp Date=07/27/2016 Phone Dispute Entry Date=07/27/2016

 

 

Agent Id=EL726347 Agent Name: Kristine Lobe

MACE ES MARK KENNETH ne NL EB GBS ttt tet i atten atten tent aration
YOR /DOH=12/9/1567
Teh egee?7-6-MET EER REY

GETZVILLE, NY 14068

Format/Language Type:Standard Date: O7/27/2016 Agent Id= KL726347
No CDI - Repert
CDF Date=07/27/2016 CDF Type: None Format/Lanquage Type:Standard
COC SoCo Coe PE PR PKC P SDC EMD EHS OC OCR BK DS PCO Ce PBR OS DEP DC ECO COLD DED ESD
Capid=1091303792 Stamp Date=07/19/2016 Mail Dispute Entry Date=07/26/2016
Agent IdeCO?725734 Agent Name: Chris Ofiokpa
MACRIS, MARK KENNETH SSN=123608396
YOR/DOB=12/9/1967
Address=270 MILLER RD
GETZVILLE, NY 14068

Format/Lanquage Type:Standard Bate:07/19/2016 Agent Ide CO725734

No COL - Repart

COP DatesO7/27/2016 CDE Type: Full Format /Language Type:Standard

COP Paragraphs=Diverce decreas explanation {150}

RPE ERP CSE CPR PK PR DE OC PEO COC OC aK PCOS DPS P COC RMDP CORES POR COKE ORS PLO SDE CD
Capid=124463557 Stamp Date=03/18/2006 Internet Reseller/CIc Entry Date=03/18/2006

Agent Id=EC777066 Agent Name: CIC Reseller ID GOL
MACRIS, MARK K SSN#1 23608390
YOR /O0B=12/3/1967

Address#67 FEDERAL AVE
BUFFALO, NY 14225
Prev Addr l=131 EUCLID AVE/KENMORE NY 14217

Format /Language Type:Standard Date:03/18/2006 Agent Id= EC7776000
COL Sent Date=03/18/2006 Format /Language Type:Standard
SPD SH CP ROE PK PEO eS OOK DPE DS OCR REDD PECL COL OER SCHOO DOD EHO OCDE DED

End of Report

Page 1

CONFIDENTIAL EXPERIAN_17-cv-361_0003
| Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 6 of 21

 

“ssea” : Prepared for: MARK KENNETH MACRIS
“SoS: ” Date: July 27, 2016
sEeae” Experian Report number: 1091-3097-92

A world ofinsight : : Paga T of 16

 

Dear MARK KENNETH MACRIS ,

To assist you in understanding your correction summary, we have provided creditors. For more information on divarce and how it affects your credit,
additional information that relates directly to items on your personal credit please send your raquast lo:
report. Credit Crossroads

P.O. Box 1239

Allan, TX 75013

A divorce decree may not affect your contracts with creditors if you havea joint Yau may also visit www.experian.com/credit-eduealion.
account wilh your ax-spouse. You will need to negotiate repayment with Sincerel
incerely,

Experian
NCAC

PO BOX 9704
Allan TX 75013

MARK KENNETH MACRIS

PO Box 9701

Allen, TX 75013

279 MILLER RD
GETZVILLE NY 14068

COMFIDENTIAL EXPERIAN_17-cv-d61_0007

0135185276
‘Case 1: 17- -CV- -00361- WMS- LGF Document 41- 26 Filed 10/31/18 Page 7 of 21

WW, A BIGI reat he CLUES FAQ Or Pr de

Date: July 27, 2016
Reports number: 1091-3097-92

Page 2of 16

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Dispute Results .
Our reinvestigation of the dispute you recently

  
 
     
     
 

  

make changes to your “credit report based on
information you provided, we have done so.
Otherwise, we have contacted the company .
reporting the information you disputed, ‘supplied
them all relevanl information and any documents
you gave us with your dispute, and instructed n
them to: review alf Information we provide them
aboul your dispute; verify the accuracy of the
information; provide us a response {o your
dispute; and update their records and sysiems as
necessary. Loge . .

“steps so it does not reappear. “If an item says ©

   
    

information .to us has certified it Ig reported |
: aceurately.: ‘Ahan Hem says "Updated," “you ‘should

 

   
  
 
 
     

 

The results: are on the following page. If an tem

    

 

°y that contains medical information related to”
expressly consent to Experian Jaciuding this |

+ You may contact the company thai reports the. .
information to us and dispute tt directly.with them
If yous ‘wish to ‘obtain documentation or written:
jarification concerning your accounts, ‘ple
contact your creditors directly.”
~ You may provide us additional information or

ae documents about your dispule to help ts resolve I
by visiting www.experian.com/uptoad. You may

 
 
 
  
 
   

 

 

  

“9701, ‘Allen, Texas 75013.

 

 

 
 
 

company reporting the ltam, with the, Constimer.:
‘Financial Protection Bureau or your State Attorney.

 

CONFIDENTIAL

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send an updated report to thosa who racelved your
reporl within the last two years for employment
“purposes, or wilhin the last six months for any other
“purpose (ihe past:12 months for residents of »-
Colorado, Maryland or New York). you send a

“="Remains,".it means the company: thal reports the

look at the itain carefully to sea whether yous 8!

_ :belfeve il is now accurate. Sometimes the updated
information reflects only 2 change {oa balance or -
‘dale, because lhe company that raparts that item:

_ te us has certified thal the rest of the information :

You om add a ‘stalement of | up to 0 100 words ta*
your.report: If you provide 3 consumer. Stalament . f

 

  
 
 

-service providers or ‘medical procedures, then you : :

information i in every credit report we issue ébout ,

  
   
  
    

» also mall your.infermation to Experian, P.O. Box .

ee - YOu | ‘may fi flea complaint about Experian or the 2

  
  
  
  

: idF ihere has been a change to your credit history
. either not appeating in your credit file or it already ‘

resulting from our. reinvestigation, or if you add a

‘equest to have your results sénl to past recipients

‘of your credit raporl; plaase designate the

_ organization's name and address. .In the event an
- organization is not specifically designaled, we will
-generally default to sending only lo companies thal

have requesied your credit Informalion as a result of

“an action you" ‘took, such as applying for. credit,
: “Insurance, empl loyment or apartment rental:

“4f Interested, you may also request a description of
“how the’ reinvestigation was conducted along with
the business name, address and telephone ne number
> GF reasonably available) af the furrisher of :-

 

information.

: Thank you for halping a ensure the a accuracy of your

cradit information,

For frequently asked questions about your credit
. report, please. visit experian., cam/consumerfags.

 

fino Information | follows, ‘Our ur feSponse: appeared on

The previous page. °

By law; we cannat disclose certain medical

“Information (relating to ‘physical, mental, or.
“ behavioral health or condition). Although we de nat

deherally collect such Information: it could appear in

_ the name of a data furnisher (e.g. “Cancer Center")
‘(hat raports your payment history to us. If so, those
names display on your report, but on reports io
“others, they display only as MEDICAL PAYMENT

DATA: Consumer statements included on your,

“report at your. request that contain Mmadical ©
: nformation are disclosed to @ others." ws

 

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| ‘Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 8 of 21

Www. experian.com

Prepared for: MARK KENNETH MACRIS
Dale: July 27, 2016
Report number 10971-3087-92

 

 

HOW te Tad your rasults

Deleted - This tem was removed fram your credit
report

Remains - This item was nol changed as a resull
of our processing of your dispute

Updated - A change was made to this iter;
review this report to view the change. If
ownership of ihe item was disputed, then it was
verified as belonging lo you

Processed - This item was either updated or
deleted; review this report to jearn lis outcome

Results

We have completed the processing of your
dispute(s}. Here are the results:

 

Credit ltems Outcome
SPECIALIZED LOAN SERVI Updated
100870...

Visit experian.com/status lo check the status of
your pending disputes at any time.

CONFIDENTIAL 0135185278

EXPERIAN _17-¢v-361,_,0009
  
   

Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 ‘Page 9 of 21

Ape er pre eed et wprorrt os

- Date: July 27, 2016
a Report number, 1091-3097-82

   

 

 

  

 

 
 
   

 
 
  
 
 

 

 

Page 4 of 16

A GUE. accounts: that may be. considered negative : ~.c_.{ Payment history legend ~ —

The mest common Items In this saction are lale payments, accounts § that have been neharged ca Cuneratterms of i met A Voluntarily sumendered

off or sant to collec tion, bankruptcies, liens, and judgments. It also may contain items lhat a Parremnent me : ¥

FERAL Account 30 days pasi due Bild Renossession

such as an account that has ‘bean seltled or transferred. This Information is generally < ~ | BEM: Account 6a cays past dun. Paid by creditor

removed seven years from the initial missed payment that led lo the delinquency. Mi ssed “ fa Account 90 days pastdue | ETGRE insumnceciaim =

payments and most public record lems may remain on the credit report far.up la seven : “Accnunt 120 days past dua «>: AEBS .Clatm Med with government
- years, except Chapters 7, 11:and 12 bankruptcies, which may remain for up to 10 years. “Account 180 days past dua “|: Detautied on contract

Unpald tax lens may remain, for.up 10:10 years fromthe filing date,: and:pald tax liens’ may = SAgcount 480 daya past due : Collection

remain for up to seven years from the fling date. Transferred accounts that have not bean =: eu Creditor received deed | Charge off

past due remain up te 10 years after the dale tha account, was 8 franisferred. 7 : eS | Foreclosure proceedings stared Closed

: mo Boe THR Foreclosed 200520 2 | SEX No data fer this ume period

 

 

MB Credit lems °

       
 
    

 

"°" Credit limit or. Recent balance’ Responatety,

  
 
 
 
 
 
 

 

AMERICAN EXPRESS - : ‘Date opened , it

PO BOX 981837 052, ees is original amount - $692 as of Jun 2s lindividual

El, PASO TX 79998" : Pes BOIS Statug ec”

Phone number -o.°- vag Account charged off/Never late, ‘$893 written off, 5692 past

     

(800) 874 2747. cries.
Partial account number: |.
3499908334758683 - %
Address identification number -
0028392785 ml

Payment history 5
PMS wot “ae Py wt : Sn: ie : : a 7 Ee aota ui : 2
UH MAY APR MAR FES JAN DEC Rov oct SEP ava SUL SUH MAY APR MAR FER ‘JAN DEC HOV OCT SEP auG “UL JUN MAT APR MAR ‘pen JAN DEC Nav act ‘sep au JUL UN MAY APR MAR FEB JAN
5 ai i a
WH Poe
DEC NOV oct SEP auc JuL UN ms
EMG bAnG ;
‘Account history - if your creditor reported your account arity anno ous, wate bh section at acta nfaraten sb yur occ. Yor babray hy fe) lo Redo yor eed kant gh balance cr
the origi ben arvount fe an ster bose ‘This sector biso ince the scheckted payment amounts, ermounts actuoly poid and the dates those payments ware mace. NO: Na Data,

BGI: accoun baler (8) Cate payment received | 22 Ea: Scheduled Pavinent amour (8) © [BEGI* Achal amasini pate (8)

Date of status
“Shun 2015 2

dua ‘as of dun 2015. - :
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Account closed a credit aranio’s request.

   

  
  

    

     

     

 

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By Noe 22ND OND,
EeGd NO 2 ND OND:
b Be von do 2014 ad Fab 2 Ea

 

 

so crit imittegh atnee was $700

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www. experian.com

Prepared far: MARK KENNETH MACRIS
Date: July 27, 2016
Report number: 108%-3097-92

Page Sats

 

Your accounts that may be considered negative (continued)

CAPITAL ONE Data opened = Tyga

PO BOX 30285 Mar 20142 Credit card
SALT LAKE CITY UT 84130 First reported Terms
Phone number Mar 2012 Nol reported
(800) 227 4825 Date of status Monthly
Partial account number Apr 2013 payment
475086000050... Not reporied
Address identification number

029392786

Paymont history

201 2012

ASR MAR FER JAN DEC NCV OCT SEP AUG JUL JUN MAY APR MAR

CNSR EET ENTE TN BTA Ua

CHILD SUPPORT ENFORCEMNT Bate opened Type

PO BOX 14 Apr 2011 Family
ALBANY NY 12201 First reported Support
Phone number dan 2013 Tarms
(518) 474 9081 Date of status 97 Manihs
Partial gecount number Feb 2043 Monthly
BS851.... payment
Addrass identification number 550
0028780425

Payment hlatory
zoe

Credit timit or Recent halance
original amount Not reported
530

High balance

549

Creditlimitor Recant balance
original amount $50 as of Jul 2016
Not reported

High balance

Not reported

2014

Responsibiiity

Individual

Status

Paid, Closed.

Comment:

Account closed at credit grantor’s request.

Responsibility
Individual
Status

Open,

2043

JUL JUN MAY APR MAA FES JAN DEC NOV OCT SEP AUG JUL JUN MAY APR MAR FES JAN DEC NOV OCT SEP AUO JUL JUM MAY APR MAR FEB JAN DEC NOV OCT SEP AUG JUL JUN MAY APR MAR FER

Eg USS ES OTS LN SG TN LSS TH SH WETS Eg WT LO TT WNT WT SG Wg NTN WS TKO WO AW Kd CAT

 

JAN

CREDIT FIRST NA! FIRESTONE Date opened Type Credittimiter Recent balance Responsibility

PO BOX 81083 Aig 2010 Charge Card original amount Nolreporied asof individual

CLEVELAND OH 44181 Firat reported Terms Not reported Ape 2044 Status

Phone number Sep 2010 Not raporled High balance Account charged off. 3777 written off.

(216) 362 3479 Date of status Monthly Sit? This account is scheduled lo centinue on record until Sep
Partial account number Apr 2041 payment Z2oT7,

SaTBG.... Not reported

Address Identification number

0029392766

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EXPERIAN 17-cv-361_0071
Case 1: 17-( -CV- /-00361- WMS- LGE Document 41-26 Filed 10/31/18 Page 11 of 21

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. . Date: July 27, 2016
” Report number. 10914-3097-92

 

 

 

 

     
   

  

 

 
 
 
  

 

 

Page dof 18
Your accounts that may be considered degatve (eon
Payment history
‘APR MAA FEB JAN DEG NOV OGT SEP a
SPECIALIZED LOAN SERVICI °
8742 LUCENT BLVD STE 300 : me i
HIGHLANDS RANCH CO 60129) First reported | pe $183,472 © : “CATHERINE M MACRIS
Phone number : - Apradt4 2° 30 Years! High balance Be 2 2 Status 2:
(720) 244 7200 Date of status . Manthly > Nol reported cio Do) Feractosura proceedings started. $143,531 past due as of
Partial account number Mar2016 = ss payment ; Mar 2016.
100876... - re oA BYBIZ : Dope » 3 Your staternant 2
Address identification number. Bo mt tt : Op Bs LY ITEM DISPUTED. BY CONSUMER"
bo29298160 p A Comments. 2020"
ao Foreclosure proceedings started. :
“This Hen waa 8 Undated from, Our proce af your 3 dispute in

Jul 2016,

 

Payment history

 

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MAR FER Ls Noy OCT SEP Ao ut uN may APR MAA FEB me BEC No go BEP sug aun,

 
 

Account history "J yatedorepered yur occur boots fous we fern hs sect as astra! rea boc your accu. Yur bt try may ikl yer et ani bane
the oriyhal bon amount fer en stoked joa. Ths seston olso hcludes the Sehechind payment armours, smeunts actualy pad ered fhe defes those oyrmente wera made Nik No Date. .
oe, BERRI = accoure batanes (5) 5 DUB) Date payment received 6.5.0) 2 BGR = Scheculed payment amount(s). ©: BYYI) = Actus amount pald ($}
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at LUBE “4,B12 “ate aie

   

 

OR ND ND SOUND kD NO

® Tho originel amount ofthis account was, $103 472 _ : atic no a :
TOYOTA MOTOR CREDIT CORP © Date opened Type). Credit imit or «Recent balance. © Responsibility:
80 CRYSTAL RUN RD STE 310 Aug 2008 - - Auioloan originalamount .Netrepored . - Individual

MIDDLETOWN NY 10947 - ‘First reported | Terms °° $20,836 . : ° 2 Status
Phone number we PSY a éHigh balance 0 S  )  .2 oPaid, Closed,
(800) 279 9092 pees “Not reported © woe Sak
Partial account number a

2 TO4D22895 3490.

  

 

    
 
 
 
 

     

“9020302786:

 

 

"9135185276

CONFIDENTIAL So Be: EXPERIAN_17-cv-261_ 0912
| ‘Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 12 of 21

Www. experlan.com Prepared for: MARK KENNETH MACRIS
Dale: Joly 27, 2016
Report number: 1091-3097-92

 

Page tatie

 

wren AT ICTS HTH TTY BS CONSISTS Tae (COMET Ed)

Paymant history
2013 2032 2ot4 2010 2009
JAN DEC NOV OCT SEP AUG JUL JUN MAY APR MAR FES JAN DEC NOV OCT SEP AUG JUL JU MAY APR MAH FER JAN DEC ROV OCT SEP AUG FUL JUN MAY APR MAR FER JAN DEC NOV OCT SEP AUG

CCR HR GTS WTS TN WSS PEN EL EE Wg MEA ATS EEN EL MN EN N04 DWTS MN WTS EY WAN GTS WE ST WWE
2008

JUL JUH MAY APR MAR FEB JAH DEC NOV OGT SEP AUG

Weg 0g a KES

 

 

VERIZON Date opened Type Croditlimitor  Recant balance Responsiblilty

500 TECHNOLOGY DR STE 300 Dee 2007 UMillly original ameunt Not reported Individual

WELDON SPRING MO 63304 First reported = Terms Not reported Status

Phone number Aug 2013 7 Months High balance Paid In settlement,

(877) 325 5156 Data of status = Monthty Not reported This account (s scheduled to continue on record untit Jul

Partial account number Dee 2013 payment 2019.

61400. Not reported Commant

Address idantification number Account information disputed by consumer (Meels

0029298160 requirement of the Fair Credit Reporting Act}.
Comment!

Account paid tn fil for fess thas full balance

Payment history
2013
DEC NOV OCT SEP AUG

Your accounts in good standing

These items may stay on your credit report for as fong as they are open. Once an account is
closed or pald off it may continue to appear on your report for un to fen years.

M Credit ltams

CAPITAL ONE Bate opened Type Credit limit or Recent balance Responsibility
PO BOX 30285 dan 2015 Credit Card = original amount $435 as of Jul 2016 Individual

SALF LAKE CiTy UT 84730 Firstreperted = Terns $7,000 Status

Phona number Feb 2015 Not reported High balance Open/Never late.
(B00) 227 4825 Date of status Monthly $3,567

Partial account number Jul 2016 payment

517805832311... $25

Address idantification number

0028780425

CONFIDENTIAL 0135188276 EXPERIAN, 17-cv-364,_0013
Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 13 of 21

WN CAB teal telvea

en en eee ee er eee rer ety)
Date: July 27, 2016
Report number: 1091-4097-92

Page fof 16

 

 

Your accounts In good slanding (continued) a
Payment hletury ,

 

ee fete
JUL JUN MAY APR MAR FEB JAN DEC NOV OCT SEP auG JUL FUA MAY APA MAR FEB

EN i EE

Account history = = your credine reported your accourl balances fp us, we Et thorn ths sectin ia elton tsbrmatin bout your account Your blac hit may aa chr you ee ton high lice or
: the onthe! ot arnt for an instalment ban This sector ais hie the scheduled payrrent amounis, arrourts actisly pal! andthe dates tose Bayes wero made: ND: No Data. ©
re = Account balance ($) °° BUR] = Data payment recetved |” SABI] = Scheduled payment amount (5) EZ Actin ro oa
Junta Mayté ApriB Marie Febié: “dents” Deets “Novis: Oe 8 S Septs / Augts “Juin Suns Mays SApris Marts 2 Febis ..
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ay dunG) | May03) Apro2 “Marz Feb? daria Dect | Now Oe3  Sep02 aT Ju dumb MayO2 ages Mao? Febod -:
ae | 25 23 B4 90 33 ee 2B BS RTE RS RB 28 ‘BS 28 a5 228 “25 .
NO 80 No NO NO. NOON NBEO ND ND NO ND OUND “ND DD . OND
- Gebrben fon 2Ot6 and ur 2018, your erect feiuhigh balence wee 57,000 not . :* Between Jut 208 and Dee 2075, your creel feniihigh balance was $4,500
» iW Fab 2018 end un 20t8. cred lind toh balance was £500

 

 

    
  
 

 

    
      

      

CAPITAL ONE . i ‘Date opened Credit limit of -. : Recent balanen |<. Responsibility
FO BOX 20285 ERS Feb 2014 2020: borginat amount . $413 as sof dul 2046 “Individual ~
SALT LAKE CITY UT 84130" First reported 52,800 © | WOR boa © 8 Status ¢
Phone number. : Mer 201428 oo Nat reported High balance Open/Never late.
(B00) 227 4825 * eee
Partial account umber: :

517805944733...

 

Address identification number
0028780425

Payrnant history Pes oe :

2018 “bots oe : : 2014 , “

JUL JUN May arn Man FEB JAN DEC HOV on sep auc ut, UM MAY APR MAR ren JAN DEC HOV OCT SEP AUG ut sux MAY APR MaR

pox Lux [on J Ok por | ox | ox Ox fox Ok FOK [ox [ Gx Fox [ok FoR POR [oi POR [Oe fos [OK [OK] Ox [ox fox fox (OK [On|

Account history - jer Gooey roped your bain bres wa Ki thoihi sion ns ckerad etary ed par ede Weir belo Ns ony bo fckele our ered rd ert high bbe or
the orf! ba ertount for an hstadent ban, This section alsa hotxias the sctleckied payment armeunis, omounts actsaly paid and the dates those paysnants were made. ND; No Data,

 

    
 

 

MEER = Accour balence (5)? EGY = Dae 5 Scheduled paymert arcunt (8) 22 BEG = Actual amouet pais)
oo a6: sayts Aart “arte Febie dante: Deets) Novis 5 “dents oDactd Navid -Oeits . Sepia Augtd Juitd
gga aa age OP see Zone ages OTe Var : : RT 2098 2080 142d G77 Gd 238
y E Maya Maro Maro? Febdz = ‘dani? =: ‘Cecil ©: Now? * Jut03 Moye “haya £03 ae Fett) -Gecto ‘DecOt Oett® Dettd Send) 3d) kundS

Ell 23. gs 2 ag A BA ae as
ND ND | ND nD “NBN ENDS
& Setwren Oc? 2018 and Jun 2036, your cred} din Vhigh balances was $2800

SS Lab BSS a ee Pd Seba Be 25 8 5 28 2B
JN ND “ND WO! Pwo No OND OND no ND no ND NO
“be Geter Apr 2045 and Sep 2075, your credit Hetithigh balance was 32,550

 

 

 

>» Bebwegn Avy 2014 and Mar 2075. your credit umithion balanes wits $2.00

CONFIDENTIAL

 

be Berwior Jul 2014 pad Jot 2034 yeuw orogit heniteigh balence was $300

EXPERIAN_17-cv-361_0074
~ Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 14 of 21

www. experian.com Prepared for: MARK KENNETH MACRIS
Dale: July 27, 2016
Report number: 1094-3097-92

 

 

Page Fol 16

 

renee PU COUNTS MT CRAY Standing (eantinued)

oa

CHASE Date oponed Type Cradit limiter Recent batance Responsibillly
PO BOX 901003 dan 2013 Auloloan = ariginal amount $77,330 as cfJun — Individual
COLUMBUS OH 43224 Firat reported = Tarms $22,508 2046 Status

Phone number dan 2013 72 Months High balance Recent payment  Open/Never late.
(800) 336 6675 Oata of status § Monthly Nol reported S384

Partial account number dun 2016 payment

§2673030..., Ba84

Address identification number

0028780425

Payment history

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COLUMBUS OH 43218 First reportad §=Tarms $600 Recent payment Status
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Case 1:17-cv-00361-WMS-LGF Document 41-26 Filed 10/31/18 Page 15 of 21

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Report Rumber, 1091-3097-92
Page 10 of 16

     

 

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: DISCOVER FINANCIAL SERVICES Date opened ©): Type): ‘Credlt tirnit or: Recent balance
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WILMINGTON DE 19850" ve Se SS First reported » “Farms oe 1,500 oS 2018 | " :
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{800) 347 2683 yy 2 2° 8 Bate of status: Monttily $533 Son BR Boson gE
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604100274191... a 7 £20
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0628780425
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1861 WORTHINGTON RD STE 100 Oct 2006 ©"

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Prapared far: MARK KENNETH MACRIS
Date: July 27, 2046
Report number: 10691-3097-92

 

 

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SYNCB/LORD & TAY Bate opened Type Credit limiter Recent balance Responsibility

PO BOX 985015 Feb 2001 Charge Card original amount Not reported Individual

ORLANDO FL 32896 Firstrapored Terms Not reported Status

Phone number Apr 2008 Notreporied High balance Fransferred,closed.

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Address identification number Purchased by another fender.
0020392788

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SYNCHRONY BANK/WALMART Date opened Type Credit fimiter Reseant balance Responsibility

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ORLANDO FL 32896 Firstreported = Tarms Not reported Status

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Partial account numbar uk 2014 payment ane.

603220141471... Not reported

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ere, GAEL GUT LPC pPENN Gata DR EUAN de lee Ee Te

4 Date: July 27, 2016
Report number: 1094-3097-92

   

 

 

 

 

Page 12 of 18
Record of requests for your credit history Jnguirles shared only with you
Wo make your credit history available to ae current and prospective creditors and You may not have iniilated the 2 foFlawing inquires, SO you may rot recognize each
employers as alowed by I figt thi a p. We report jhass SLynian oro oe

   
 

Inquiries ‘shared J With others include any of these requests on credit reports to olhers,

The section below fists companies that have requested your credit information asa =: We offer credit information about you to those with a permissible Purpose, such as:
result of an action you lok, such as applying for credit or financing oF as a result of a ~ e other creditors whe want to offer you preappraved credit,
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credi{ hi patory, : . ey : . #2 a potential investor In geseesing tha dsk of a current obligalion:
+ Experian Consumer Assistance to process a report for you;
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Examples of Inquiries shared with others inetade
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a Date : Q These Inquiries bo NOT affect your credit s score wand are not seen by anyone but

 
  
    

 

 

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ORLANDO FL 32898 ~/ Reason: -) 2.7 Inquiries). :
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Address identification number: N BLVD STE 100 “COSTA MESA CA 92626

     

 

   

 

 

  
  

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een ee rena mason Date of inguiry: Jul 26, 2016. a
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PO BOX #9298... - at : Aug 22, 2014 :
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(B00) 432 3147 ‘ . ciled:
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Prepared for; MARK KENNETH MACRIS
Date: July 27, 2016
Report number: 1091-3097-92

 

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2015; Jun 25, 2015; Jun 15, 2015

AMERICAN EXPRESS 2 PO BOX 981537 EL PASO TX 79998

(800} 874 2747

Bate of ingulry: Jul 11, 2016
CONSUMERINFO.COM FO BOX 19729
{865) 673 0141

Date of inquiry: Jul 01, 2048; Jun 17, 2016: May 27, 2018; May 13, 2016: Apr 29,
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CONSUMERINFO.COM INC PO BOX 19725
No phone numbar avaliable

Date of inquiry: Jun 30, 2016; May 27, 2016; Apr 30, 2016; Apr 13, 2016; Apr 06,
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EQUIFAX CONSUMER SERVICES 1100 ABERNATHY RD NE STE 300 ATLANTA
GA 30328

(678} 798 7000

Bate of inquiry: Jun 09, 2076

FIRST NATIGNAL BANK OF OMAHA 1620 DODGE ST OMAHA NE 68102

(402) 342 2265

Date of Ingulry: Jun 09, 2036

XCELWEST HERR USED CAR 5535 TRANSIT RD WILLIAMSVILLE NY 14224
(776) 689 A906

Date of inquiry: Jun 01, 2016; Feb 25, 2016; Sep 16, 2015

IRVINE CA 92623

IRVINE CA 92623

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SARITAL ONE PO BOX 30281
(B00) 955 7O70

Dale of Inquiry, May 17, 2018
TRUECREDITIMY CREDIT HEA 100 CROSS ST STE 202 SAN LUIS OBISPO CA
83401

(605) 596 9968

Date of Inquiry: May 14, 2016

CHASE MTG PO BOX 24696 COLUMBUS OH 43224

(800) 848 9136

Date of Inquiry: May 11, 2016

CREBCO/SPECIALIZED LOAN PO BOX509124 SAN DIEGO Ca 92150

(800} 523 0233

Dato of Inquiry: May 04, 2016

AMERICAN EXPRESS 18640N 31ST ST. AVE PHOENIX A? 85027

(800) 874 2717

Date of inquiry: Apr 29, 2016; Nov 27, 2015: Jul tt, 2015; Mar 07, 2015; Feb 07,
2075; Aug 07, 2014

CAPITAL ONE AUTO FINANCE 79233 PRESTON RO PLANO TX 75024

(800) 227 3889

Date of Inquiry: Apr 27, 2016

SANTANDER CONSUMER USA BS85 N STEMMONS FWY DALLAS TX 75247
(BSB) 222 4227

Date of inguiry: Feb 24, 2018

LEXISNEXISIINS/P&C 1600 ALDERMANDR ALPHARETTA GA 30005

{868) 323 0932

On behalf of USAA fer Insurance underwriting

Date of Inquiry: Jan 05, 2016

AXDIPINNACLE CAPITL MTG 250 COMMERGE STE 100
(949) 769 7568

Date of Inquiry: Nov 30, 2015: Aug 41, 2015

COMENITY SERVICING LLC 220 W SCHROCK RD WESTERVILLE OH 43081
(614} 729 5000

Date of Inquiry: Nev 17, 2015
ONEMAIN 6801 COLWELL ALYD
(800) 922 6235

Date of Inquiry: Oct 06, 2015

SALT LAKE CITY UT 84130

IRVINE CA 92602

IRVING TX 75039

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“Date: July 27, 2016
. Report number: 1091-3097-92

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CREDIT ONE BANK NA. 585 PILOT -RD_LAB: VEGAS NV 09118 g Personal. information _

   

 

 

 

“{877) 825 4242 e:The follows
Loe ing Information is reported lo us 1 by you, your creditors and/or other sources,
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remem EES EEA EEE Ba i or ; alc. As part oF aur iad

 

No phone number available: - :
Date of Inquiry: Jul 22,2015

   

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“MNames.

 

 

 

 

FINGERHUTIWEBBANK 218 S STATE St STE 800° SALT LAKE city Ur gait + “MARK MACRIS aa
(801) 456 350 fa 8 “| Name Wdentifieation number: 11371 oe
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CICIEXPERIAN IDENTITY CH 595 ANTON BLVD STE 100 “COSTA MESA CA. | Name identification number: 4194 fia}
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(623) 492 5203 ©

Bate of inquiry: Jen 20. ‘2018 -

 

 

 

These addresses are sted inna pa icular order ond may laclude. previous etkiresses
_ Where you recelved maliThe Address Identificalion humber is how our syslem

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CAPITAL ONE PO Box 20281 SALT LAKE ( ciTy ur B4130 COs polenta? creditar, The geographical code shown with each address identifies the state,
(804) 967 1000 : GURSES se RP oka County, census tract, block group and Metropolitan Slatisticat Area associated wilh
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Date of Inguiry: 19. 2014; WILLIAMSVILLE NY.44221- “3935 : Boag oe . .
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JGETAVILLE NY14088-: Bova
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Dale: July 27, 2016
Report number: 1091-3697-92

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Address Type of address Geographical code
26 MAPLE DOR Single family 0-1426330-29-5330
BOWMANSVILLE NY 14026-1030

Address identificalion number, 0674360457

M@ Social Security number variations

As 4 secumly precaution, we did not lisl the Social Security number that you provided
when yeu conlacted us. The numbers below are variations that have been raported io
us. Only the last four digits of each reported variation are displayed. Numbers that
Bppear here vary from the number you used lo generate this report. Actual dillerances
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M Telephone numbers
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@ Spouse or co-applicant
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@ Former or current employers
SENTRY INSURANCE

RURAL METRO MEDICAL SVCS

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if you disagree wilh information in your report you may dispute most infomation al:
www.experian.com/disputes

You may also visil wew.experian.com ta view your repert Again.

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